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                              UNITED STATES DISTRICT        1 Filed DISTRICT
                                                     COURT, CENTRAL 01/14/22OF Page  1 of 3 Page ID #:1
                                                                               CALIFORNIA
                                                                                 CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                        )              DEFENDANTS ( Check box if you are representing yourself                              )
Melissa Robertson                                                                                    Unifyed, LLC and CampusEAI, Inc.

                                                                                                                                                                           Miami-Dade,
(b) County of Residence of First Listed Plaintiff Los Angeles                                       County of Residence of First Listed Defendant Cuyahoga
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                                   Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                                 representing yourself, provide the same information.
Devon Lyon                                                                                           Rachel J. Lee / Madonna L. Devling
Matthew B. Perez                                                                                     Lewis Brisbois Bisgaard & Smith LLP
Lyon Legal, P.C.                                                                                     650 Town Center Drive, #1400, Costa Mesa, CA 92626
2698 Junipero Ave., Suite 201A, Signal Hill, CA 90755                                                Telephone: 714.545.9200 | Facsimile: 714.850.1030
Telephone: 562.216.7382
                                                                                           III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
II. BASIS OF JURISDICTION (Place an X in one box only.)                                         (Place an X in one box for plaintiff and one for defendant)
    1. U.S. Government                    3. Federal Question (U.S.                                                       PTF         DEF     Incorporated or Principal Place             PTF          DEF
                                                                                           Citizen of This State                              of Business in this State
    Plaintiff                             Government Not a Party)                                                               1       1                                                       4       4
                                                                                           Citizen of Another State                           Incorporated and Principal Place                  5       5
                                                                                                                                2       2
                                                                                                                                              of Business in Another State
    2. U.S. Government                    4. Diversity (Indicate Citizenship               Citizen or Subject of a
                                                                                                                                3       3     Foreign Nation                                    6       6
    Defendant                             of Parties in Item III)                          Foreign Country

IV. ORIGIN (Place an X in one box only.)
    1. Original             2. Removed from           3. Remanded from           4. Reinstated or            5. Transferred from Another                6. Multidistrict            8. Multidistrict
       Proceeding              State Court               Appellate Court            Reopened                    District (Specify)                         Litigation -                Litigation -
                                                                                                                                                           Transfer                   Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND:                                      Yes             No        (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                Yes       No                          MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
  28 U.S.C sections 1332, 1441, and 1446
VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                   CONTRACT               REAL PROPERTY CONT.                     IMMIGRATION                    PRISONER PETITIONS                       PROPERTY RIGHTS
    375 False Claims Act             110 Insurance               240 Torts to Land                                                    Habeas Corpus:                   820 Copyrights
                                                                                                   462 Naturalization
                                                                 245 Tort Product                  Application                       463 Alien Detainee                830 Patent
    376 Qui Tam                      120 Marine
                                                                 Liability                         465 Other                         510 Motions to Vacate             835 Patent – Abbreviated
    (31 USC 3729(a))                 130 Miller Act              290 All Other Real                Immigration Actions               Sentence                          New Drug Application
    400 State                        140 Negotiable              Property                                                            530 General                       840 Trademark
    Reapportionment                  Instrument                                                       TORTS
                                                                    TORTS                                                            535 Death Penalty
    410 Antitrust                    150 Recovery of                                            PERSONAL PROPERTY
                                                                PERSONAL INJURY                                                            Other:
    430 Banks and Banking            Overpayment &
                                                                                                                                     540 Mandamus/Other                      SOCIAL SECURITY
                                     Enforcement of              310 Airplane                      370 Other Fraud
    450 Commerce/ICC                 Judgment                                                                                        550 Civil Rights                  861 HIA (1395ff)
                                                                  315 Airplane                     371 Truth in Lending
     Rates/Etc.                                                                                                                      555 Prison Condition
                                                                  Product Liability                380 Other Personal                                                  862 Black Lung (923)
    460 Deportation                  151 Medicare Act
                                                                                                   Property Damage                   560 Civil Detainee                863 DIWC/DIWW (405 (g))
                                     152 Recovery of             320 Assault, Libel &
    470 Racketeer Influ-                                                                                                              Conditions of
                                      Defaulted Student          Slander                           385 Property Damage                                                 864 SSID Title XVI
    enced & Corrupt Org.                                                                                                              Confinement
                                      Loan (Excl. Vet.)          330 Fed. Employers’               Product Liability                                                   865 RSI (405 (g))
     480 Consumer Credit
                                     153Recovery of              Liability                           BANKRUPTCY
    490 Cable/Sat TV                 Overpayment of              340 Marine                                                     FORFEITURE/PENALTY
                                     Vet. Benefits                                                 422 Appeal 28                                                            FEDERAL TAX SUITS
    850 Securities/Com-
                                                                  345 Marine Product               USC 158
    modities/Exchange                160 Stockholders'                                                                               625 Drug Related                      870 Taxes (U.S. Plaintiff or
                                                                  Liability
                                     Suits                                                         423 Withdrawal 28                 Seizure of Property 21                Defendant)
    890 Other Statutory                                          350 Motor Vehicle                 USC 157                           USC 881                               871 IRS-Third Party 26 USC
    Actions                          190 Other                    355 Motor Vehicle                  CIVIL RIGHTS                    690 Other                              7609
    891 Agricultural Acts            Contract                     Product Liability                440 Other Civil Rights                   LABOR
    893 Environmental                195 Contract
                                                                  360 Other Personal               441 Voting                        710 Fair Labor Standards
    Matters                          Product Liability
                                                                  Injury                                                             Act
                                                                                                   442 Employment
    895 Freedom of Info.             196 Franchise
                                                                 362 Personal Injury-                                                720 Labor/Mgmt.
    Act                                                                                            443 Housing/
                                   REAL PROPERTY                 Med Malpratice                                                      Relations
                                                                                                   Accommodations
    896 Arbitration                                              365 Personal Injury-
                                     210 Land                                                      445 American with                 740 Railway Labor Act
    899 Admin. Procedures                                        Product Liability
                                     Condemnation                                                  Disabilities-                     751 Family and Medical
    Act/Review of Appeal of                                      367Health Care/                   Employment
                                     220 Foreclosure                                                                                  Leave Act
    Agency Decision                                              Pharmaceutical
                                     230 Rent Lease &                                              446 American with                 790 Other Labor
    950 Constitutionality of                                     Personal Injury
                                     Ejectment                                                     Disabilities-Other                Litigation
    State Statutes                                               Product Liability
                                                                                                   448 Education                     791 Employee Ret. Inc.
                                                                  368Asbestos
                                                                                                                                      Security Act
                                                                  Personal Injury
                                                                  Product Liability
FOR OFFICE USE ONLY:                          Case Number:
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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                      INITIAL DIVISION IN CACD IS:
              Yes     No
                                                        Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                           Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                Orange                                                                                           Southern
corresponding division in response to
Question E, below, and continue from there.             Riverside or San Bernardino                                                                       Eastern


QUESTION B: Is the United States, or                B.1. Do 50% or more of the defendants who reside in
one of its agencies or employees, a                 the district reside in Orange Co.?                              YES. Your case will initially be assigned to the Southern Division.
PLAINTIFF in this action?                                                                                           Enter "Southern" in response to Question E, below, and continue
                                                                                                                    from there.
                                                    check one of the boxes to the right
                   Yes        No                                                                                    NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino          YES. Your case will initially be assigned to the Eastern Division.
Question B.1, at right.                             Counties? (Consider the two counties together.)                 Enter "Eastern" in response to Question E, below, and continue
                                                                                                                    from there.

                                                    check one of the boxes to the right .                           NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.


QUESTION C: Is the United States, or                C.1. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                 district reside in Orange Co.?                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                           from there.
                                                    check one of the boxes to the right
                   Yes       No
                                                                                                                    NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino              Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                 from there.

                                                    check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.

                                                                                                               A.                          B.                            C.
                                                                                                                                   Riverside or San          Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                                                Bernardino County          Santa Barbara, or San
                                                                                                       Orange County
                                                                                                                                                              Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                 D.1. Is there at least one answer in Column A?                                               D.2. Is there at least one answer in Column B?
                                        Yes             No                                                                          Yes           No

                     If "yes," your case will initially be assigned to the5                                     5If "yes," your case will initially be assigned to the
                                  SOUTHERN DIVISION.                                                                           EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                               Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                       If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                              INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                            WESTERN
QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                Yes            No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                   YES

         If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                      NO                  YES

        If yes, list case number(s):


         Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;
                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they (check all that apply):
                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.



X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): Madonna L. Devling                                                                                    DATE:    01-14-22

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

      Nature of Suit Code Abbreviation                           Substantive Statement of Cause of Action
                                                      All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
         861                        HIA               include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                      (42 U.S.C. 1935FF(b))

         862                        BL                All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                      923)

         863                                          All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                    DIWC              all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

         863                        DIWW              All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                      amended. (42 U.S.C. 405 (g))

                                    SSID              All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
         864                                          amended.

                                                      All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
         865                        RSI               (42 U.S.C. 405 (g))




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